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                                UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                       PORTLAND DIVISION

UNITED STATES OF AMERICA,                                        CR No. 3:14-CR-00282-03-KI

                                        Plaintiff,
                                                                 TRIAL MANAGEMENT ORDER

                                        v.


JASON MICHAEL KEATING,

                             Defendant.
_____________________________________

KING, Judge,

        Any motion to continue a criminal trial based on a finding of excludable delay shall be filed

no later than SEVEN (7) days prior to the scheduled trial date and shall include the filing of a

declaration or affidavit containing:

                (a)     a statement of the number and length of previous continuances;

                (b)     a proposed trial date and the specific and detailed reason for the continuance

                        stated with sufficient specificity to permit the Court to make findings of the

                        necessity for a continuance. If necessary to prevent disclosure of work

                        product or other privileged material, a party may submit an additional affidavit


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                       under seal setting out the facts that warrant a continuance;

               (c)     a representation that the defense attorney has spoken to his or her client and

                       the client agrees with the continuance, understands the rights provided by

                       the Speedy Trial Act, and waives those rights in light of the reason for the

                       continuance. Attorneys may only speak for their own clients. The client’s

                       written consent for this continuance may be filed instead; and

               (d)     the positions of all other parties, including the government, concerning the

                       proposed continuance.

                       In cases with multiple defendants being tried together, the position of each

                       defendant must be provided to the Court by each defendant's attorney in the

                       form of a declaration or affidavit;

       NOTE: Defendants will not be taken off the U.S. Marshal transport list until acceptable

submissions are received and the motion to continue the trial date is granted.

       Once the attorneys state they expect the case will proceed to trial, the court will schedule a

pretrial conference.

       Pretrial documents shall be filed as follows:

       (1) Fourteen days prior to pretrial conference, the parties shall simultaneously file:

               (a)     all motions in limine;

               (b)     trial memoranda;

               (c)     requested jury instructions (follow Ninth Circuit Model Jury Instructions when

                       possible) and verdict (also submit the jury instructions and verdict, in plain

                       text or rich text format, as an attachment to an e-mail to the courtroom

                       deputy;

               (d)     proposed voir dire questions;

               (e)     exhibit list; and

               (f)     expert witness list and summaries of any expert testimony.


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        (2) At least seven days prior to pretrial conference, any responses to the above documents

shall be filed.

        My courtroom is now equipped with the Digital Evidence Presentation System (DEPS). You

are encouraged to use this equipment during trial. Arrangements can be made for the use of the

equipment by contacting the Judicial Assistant/Courtroom Deputy, Pamela Graham at (503) 326-

8230 at least one week in advance of your trial date. Houston Bolles, Courtroom Technology

Administrator (503) 326-8181, will arrange to demonstrate the equipment, but you must make

arrangements for this prior to trial.

        IT IS SO ORDERED.

        DATED this       21st      day of July, 2014.



                                                        /s/ Garr M. King
                                                                GARR M. KING
                                                          United States District Judge




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